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NORTH DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT ERN Ae KG OF TEXAS

 

 

 

 

 

 

 

 

FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION JUN - 6 2003
CLERK, U.S, DISTRICT COUR’
SPECTRUM WT, et al., mfp ,
_ Deputy

Plaintiffs,
v. 2:23-CV-048-Z
WALTER WENDLER, et al,

Defendants.

ORDER

Before the Court is Defendant Walter Wendler’s Unopposed Motion to Withdraw Aaron Reitz
as Counsel (“Motion”) (ECF No. 47), filed on June 1, 2023. Having considered the Motion, the Court
GRANTS the Motion and ORDERS that Aaron Reitz is withdrawn as counsel of record and that
Charles K. Eldred is lead counsel for Defendant Walter Wendler.

SO ORDERED.

june & , 2023 Ye Ltn A

MATYVHEW J. KACSMARYK
UNITED STATES DISTRICT JUDGE

 

 
